Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23   Page 1 of 10 PageID 10414


                                  EXHIBIT 69




                                                                  Appx. 01833
    Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                        Page 2 of 10 PageID 10415
                                                                                                                       FILED
chT-ESERVE                                                                                                  7/22/2021 5:53 PM
                                                                                                            FELICIA PITRE
                                                                                                          DISTRICT CLERK
                                                       '
                                                                                                        DALLAS CO., TEXAS
                                                                                                JAVIER HERNANDEZ DEPUTY
                                                           DC-21 -09534
                                          CAUSE NO.


         IN RE JAMES DONDERO,                                     §   IN THE DISTRICT COURT
                                                                  § 95th
               Petitioner.                                        §        JUDICIAL DISTRICT
                                                                  §
                                                                  §   DALLAS COUNTY, TEXAS

                       VERIFIED PETITION TO TAKE DEPOSITION BEFORE SUIT
                                      AND SEEK DOCUMENTS

               Petitioner James Dondero respectfully requests that this Court order, pursuant to Texas

        Rule of Civil Procedure 202, the deposition of the corporate representatives of Alvarez & Marsal

        CRF   Management,    LLC,   and   of Farallon Capital Management, LLC. Petitioner further requests

        that the Court order certain limited, yet relevant documents to be provided under Texas Rule of

        Civil Procedure   199.2 as set forth below.

               Petitioner would respectfully show the Court that:

                                                             I.

                                                      PARTIES
                1.      Petitioner James Dondero (“Petitioner”) is an individual resident in Dallas County,

        Texas and is impacted by the potential acts and omissions alleged herein.

               2.       Respondent Alvarez & Marsal         CRF Management, LLC (“A&_M”) is    a Delaware

        limited liability company serving as an investment adviser, with ofﬁces in Dallas County, Texas,

        at 2100 Ross   Ave, let Floor, Dallas, Texas 75201.
               3.       Respondent Farallon Capital Management LLC is a limited liability company with

        its primary place of business in California (“Laﬁmf and together with A&M, the “Respondents”)

        which is an investment fund located at One Maritime Plaza, Suite 2100, San Francisco,   CA 9411 1.




        Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                 Page   1




                                                                                               Appx. 01834
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                        Page 3 of 10 PageID 10416




                                                       II.

                                      JURISDICTION AND VENUE

           4.       The Court has subject matter jurisdiction over this matter pursuant to Texas Rule

    of Civil Procedure 202. The anticipated lawsuit would include common law claims.

           5.        The Court has personal jurisdiction over A&M because it maintains a regular place

    of business in Dallas County. Personal jurisdiction is also proper under TEX. CIR. PRAC. REM.

    CODE § 17.003, and under § 17.042(1)-(3) because its acts on behalf of the Crusader Funds (as

    deﬁned below), would constitute a tort in this state. Furthermore, it participated in substantial acts

    in this state which are the subject of the investigation. Moreover, this Court has quasi in rem

    jurisdiction over any potential claims because the action concerns the sale of personal property

    that was located in Dallas County, and in which Plaintiff claims an interest.

            6.       The Court has personal jurisdiction over Farallon because it, acting on behalf of

    itself or one of its subsidiaries/afﬁliates, communicated with representatives of Highland Capital

    Management, LP which is located in Dallas County, and with representatives of Acis and Josh

    Terry (both of whom are residents in Dallas County), to purchase claims in the Highland Capital

    Management,     LP (“Highland”) Chapter     11   bankruptcy case (the “Highland Bankruptcy Case”).

    Such acts,   if shown to have occurred could constitute a tort in this state. Moreover, this Court has

    quasi in rem jurisdiction over any potential claims because the action concerns the sale of personal

    property that was located in Dallas County, and in which Plaintiff claims an interest.

            7.       Venue is proper in Dallas County, Texas, Where venue of the anticipated lawsuit

    may lie and where the property at issue exists, and where a substantial amount of the acts and

    omissions underlying the potential suit occurred.




    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                    Page 2




                                                                                              Appx. 01835
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                      Page 4 of 10 PageID 10417




            8.     Removal is not proper because there is no basis for federal jurisdiction because a

    Rule 202 petition, as a pre-suit mechanism, does not meet Article III of the United States

    Constitution’s standing requirement of an actual, live case or controversy.

                                                      III.

                                       FACTUAL BACKGROUND
            9.     This matter arises out of Farallon’s purchase of certain bankruptcy claims in the

    Highland Bankruptcy Case, pending in the Northern District of Texas bankruptcy court, from three

    sources: HarbourVest,   Acis Capital Management, LP, and the Crusader Funds (as deﬁned below).

             10.   Petitioner is the founder and former CEO of Highland and is an adviser and/or

    manager of several trusts who own the equity in Highland. In addition, Petitioner is an investor in

    Highland Crusader Fund, Ltd. and several of its companion and afﬁliated funds (the “Crusader

    Bun—(18”)-


             11.   Until recently, the Crusader Funds were managed by Highland, but are now

    managed and advised by    A&M.

             12.    Shortly after the commencement of the Highland Bankruptcy Case, the Ofﬁce of

    the United States Trustee solicited Highland’s twenty largest unsecured creditors to serve on the

    Ofﬁcial Committee of Unsecured Creditors in the Highland Bankruptcy Case (the

             13.    As set forth below, the Information Sheet attached to such solicitation

    provided, inter alia,

                    Creditors wishing to serve as ﬁduciaries on any official committee are advised
                    that they may not purchase, sell or otherwise trade in or transfer claims
                    against the Debtor while they are committee members absent an order of the
                    Court. By submitting the enclosed Questionnaire and accepting membership
                    on an official committee of creditors, you agree to this prohibition. The United
                    States Trustee reserves the right to take appropriate action, including
                    removing a creditor from any committee, if the information provided in the
                    Questionnaire is inaccurate, if the foregoing prohibition is violated, or for any

    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                 Page 3




                                                                                           Appx. 01836
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                           Page 5 of 10 PageID 10418




                    other reason the United States Trustee believes is proper in the exercise of her
                    discretion. (Emphasis in Original)

           14.      The UCC was originally populated by four members, (i) the Redeemer Committee

    of the Highland Crusader Fund (the “Redeemer Committee”), (ii)_Acis Capital Management, L.P.

    (iii) UBS Securities LLC     and   UBS AG London Branch (together, “1138”) and (iv) Meta-E

    Discovery LLC.

            15.      Upon information and belief, two of Highland’s creditors             —   the Redeemer

    Committee (a member of the UCC) and the Crusader Funds, who between them held

    approximately $191 million in claims in the Highland Bankruptcy Case (the “Crusader

    M”)—sold         their claims to Jessup Holdings      LLC      (“ﬂip”),   a newly established limited


    liability company established by Farallon right before the sale. It was formed for the purpose

    of holding claims Farallon purchased in the Highland Bankruptcy Case.

            16.      Upon information and belief, two other Highland creditors—Joshua Terry and Acis

    Capital Management (another member of the UCC), who between them held approximately $25

    million in claims (the “Acis Claims”)—sold their claims to Muck Holdings             LLC    (“M”),    a


    newly established limited liability company set up by Farallon solely for the purpose of holding

    the Acis Claims that Farallon purchased.

            17.      Finally, another group of afﬁliated creditors, HarbourVest 2017 Global Fund, L.P.,

    HarbourVest 2017 Global        AIF L.P., HarbourVest Dover         Street   IX   Investment, L.P.,   HV

    International   VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners,

    L.P. (collectively, “HarbourVest”) also sold $80 million worth of their claims (the “HarbourVest

    Claims”, together with the Crusader Claims and Acis Claims, the “Claims”) to Muck.




    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                     Page 4




                                                                                                Appx. 01837
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                        Page 6 of 10 PageID 10419




           18.     Notwithstanding the instructions issued by the Ofﬁce of the United States Trustee,

    no one—not Farallon, nor the Redeemer Committee, HarbourVest or Acis Capital Management—

    ever sought, much less obtained Court approval to sell their respective claims.

           19.     Upon information and belief, a substantial amount of time passed between the

    agreement to sell the Claims and the consummation of such sales.             Notwithstanding their

    agreement to sell their respective claims, neither the Redeemer Committee nor         Acis Capital

    Management resigned from the UCC.

           20.     The current CEO of Highland, James Seery, has an age-old connection to Farallon

    and, upon information and belief, advised Farallon to purchase the claims.

           21.     On a telephone call between Petitioner and a representative of Farallon, Michael

    Lin, Mr. Lin info rmed Petitioner that Farallon had purchased the claims sight

    unseen—relying entirely on Mr. Seery’s advice solely because of their prior dealings.

           22.     Mr. Seery had much to gain by brokering a sale of the Claims to Jessup and Muck—

    namely, his knowledge that Farallon—as a friendly investor—would allow him to remain as

    Highland’s CEO with virtually unfettered discretion to administer Highland. In addition, Mr.

    Seery’s rich compensation package incentivized him to continue the bankruptcy for as long as

    possible.

           23.     As Highland’s current CEO, Mr. Seery had non-public, material information

    concerning Highland. Upon information and belief, such non-public, material information was the

    basis for instructing Farallon to purchase the Claims, in violation the Registered Investment

    Advisor Act   15   U.S.C   §   80b-l et seq., among other things.

            24.     Additionally, A&M, upon information and belief, did not put the Crusader Claims

    on the open market prior to selling them to Farallon. The sale      of the Crusader Claims by A&M



    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                Page 5




                                                                                            Appx. 01838
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                            Page 7 of 10 PageID 10420




    was not pursuant to normal means and there is reason to doubt that         A&M sought or obtained the

    highest price for the assets that it sold. This would have injured Petitioner as an investor in the

    Crusader Funds.

                                                      IV.

                                            RELIEF SOUGHT
            1.     Petitioner asks this Court to issue an Order authorizing Petitioner to take a pre-suit

    deposition of a designated representative, or representatives, of A&M, and to depose Michael Lin,

    on the following topics, to investigate any potential claims by Petitioner arising out     of the highly

    irregular manner in which the Claim were marketed         (if at all)   and sold, within ten days of the

    Court’s Order, or as agreed by the parties:

                   a.    A&M’s   agreements with the Crusader Funds, and the agreement(s)           of those
                         funds with their respective investors;

                   b. The valuation, marketing and sale of the Claims to Farallon (or its subsidiaries/.
                         afﬁliates);

                    c.   The negotiations and communications leading up to the purchase or sale of the
                         Claims;

                    d.   Any discussions with James Seery regarding the Claims;

                    e.   Any prior relationship with James Seery.

            2.     As part of the Court's Order, Petitioner requests this Court to require Respondents

    to produce the following documents at their respective depositions:

                    a.   All   agreements, contracts, or other documents (including any e-mails,
                         correspondence, texts, drafts, term sheets, or communications related to same)
                         related to or concerning the valuation, purchase, marketing or sale of the Claims
                         (or any subset of the Claims);

                    b.   All communications with James Seery regarding the Claims;

                    c.   All communications with, between or among A&M, Seery, HarbourVest,
                         Joshua Terry, Acis, or Highland Capital Management ,LP (or any agent or

    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                      Page 6




                                                                                                 Appx. 01839
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                            Page 8 of 10 PageID 10421




                        representative thereof), regarding or related to the Claims (or any subset or
                        portion thereof);

                   d.   All communications regarding ﬁling any   notice with the Bankruptcy Court
                        overseeing the Highland Bankruptcy Case or seeking such Court’s approval for
                        the sale or purchase of the Claims;

                   e.   Alloffers to sell or purchase the Claims and/or all correspondence regarding
                        same;

                                                      V.

                                                 HEARING

           21.     After service of this Petition and notice, Rule 202.3(a) requires the Court to hold a

    hearing on the Petition.

           22.     FOR THESE REASONS, Petitioner asks the Court to set a date for hearing on this

    Petition, and after the hearing, to ﬁnd that the likely beneﬁt of allowing Petitioner to take the

    requested depositions outweighs the burden or expense          of the procedure. Petitioner further asks

    the Court to issue an Order authorizing Petitioner to take the oral depositions     of Michael Lin   and

    a designated representative or representatives of A&M after proper notice and service at the ofﬁces

    of Sbaiti & Company PLLC, 2200 Ross Avenue, Suite 4900W, Dallas, Texas 75201, within ten

    (10) days of the Court’s Order, or as agreed by the parties, and to produce the requested documents

    at said deposition. Petitioner also seeks any further   relief to which he may be justly entitled.




    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                      Page 7




                                                                                                 Appx. 01840
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                        Page 9 of 10 PageID 10422




    Dated: July 22, 2021                                    Respectfully submitted,

                                                            SBAITI & COMPANY PLLC

                                                           /s/ Mazz'rz A. Sbaitz'
                                                           Mazin A. Sbaiti
                                                            Texas Bar No. 24058096
                                                           Brad J. Robinson
                                                            Texas Bar No. 24058076
                                                           J .P. Morgan Chase Tower
                                                           2200 Ross Avenue Suite 4900W
                                                           Dallas, Texas 75205
                                                           T: (214) 432-2899
                                                           F: (214) 853-4367
                                                           E: mas@sbaitilaw.com
                                                                bjr@ sbaitilaw.com

                                                            Counsel for Petitioner

                                              VERIFICATION
    I, the undersigned, have reviewed attached Verified Petition to Take Deposition Before Suit and
    Seek Documents and verify, pursuant to Tex. Civ. Prac. Rem. Code § 132.001 under penalty of
    perjury, that the factual statements therein, as stated, are true and correct, and are within the best
    of my personal knowledge as stated therein. The date of my birth is June 29, 1962, and my
    address is 2515 McKinney Avenue, Suite 1100, Dallas, Texas 75201.


    Veriﬁed this   22nd   D    July, 2021.



    James Dondero




    Petitioner’s Veriﬁed Petition to Take Deposition Before Suit                                   Page 8




                                                                                             Appx. 01841
Case 3:21-cv-00881-X Document 138-69 Filed 07/14/23                    Page 10 of 10 PageID 10423


                          Automated Certificate of eService
 This automated certificate of service was created by the efiling system.
 The filer served this document via email generated by the efiling system
 on the date and to the persons listed below. The rules governing
 certificates of service have not changed. Filers must still provide a
 certificate of service that complies with all applicable rules.

 Kim James on behalf of Mazin Sbaiti
 Bar No. 24058096
 krj@sbaitilaw.com
 Envelope ID: 55626531
 Status as of 7/23/2021 3:02 PM            CST
 Case Contacts

  Name                 BarNumber   Email               TimestampSubmitted     Status
  Kim James                        krj@sbaitilaw.com   7/22/2021 5:53:07 PM   SENT
  Jonathan E.Bridges               jeb@sbaitilaw.com   7/22/2021 5:53:07 PM   SENT
  Charlotte Casso                  bcc@sbaitilaw.com   7/22/2021 5:53:07 PM   SENT
  Brad Robinson                    bjr@sbaitilaw.com   7/22/2021 5:53:07 PM   SENT
  Mazin Sbaiti                     mas@sbaitilaw.com   7/22/2021 5:53:07 PM   SENT




                                                                                       Appx. 01842
